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                      United States Court of Appeals
                                FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                         ____________

No. 23-5044                                                       September Term, 2023
                                                                               1:23-sc-00031-BAH

                                                           Filed On: September 15, 2023
In re: Sealed Case,


       BEFORE:         Pillard, Childs, and Pan, Circuit Judges

                                            ORDER

      Upon consideration of the joint response and the ex parte response to the August 16,
2023 order to show cause, and the motion of 22 Press Organizations for leave to file a brief
as amici curiae, and the lodged amici brief, it is

       ORDERED that the order to show cause be discharged. It is

       FURTHER ORDERED that the motion for leave to file a brief as amici curiae be
granted. The Clerk is directed to file the lodged amici brief. It is

       FURTHER ORDERED that appellant’s brief, appellant’s reply brief, and the audio
recording and transcript of the joint session of oral argument be unsealed in their entirety. It is

        FURTHER ORDERED that appellee’s brief (with ex parte redactions), appellee’s
unredacted ex parte brief, and the joint appendix be unsealed in part, in accordance with the
proposed redactions set forth in the parties’ joint response and appellee’s ex parte response
to the order to show cause, and the separate ex parte order issued today.

         The Clerk is directed to unseal and file on the public docket appellant’s brief, filed
March 31, 2023, and appellant’s reply brief, filed May 5, 2023. The Clerk is further directed to
file on the public docket appropriately redacted versions of appellee’s brief and the joint
appendix; unseal the audio recording of the joint session of oral argument and make it publicly
available on the court’s website; unseal the transcript of the joint session of oral argument and
note the docket accordingly; and unseal the appropriately redacted transcript of the ex parte
session of oral argument and note the docket accordingly. The Clerk is further directed to
maintain under seal the unredacted joint appendix, filed March 31, 2023, appellee’s brief (with
ex parte redactions), filed April 21, 2023, appellee’s unredacted ex parte brief, filed April 21,
2023, and the audio recording and unredacted transcript of the ex parte session of oral
argument.

                                           Per Curiam

                                                             FOR THE COURT:
                                                             Mark J. Langer, Clerk

                                                     BY:     /s/
                                                             Daniel J. Reidy
                                                             Deputy Clerk
